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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                     [Greenbelt Division]

        MARIA VASQUEZ,                       *
                                             *
                  Plaintiff                  *
                                             *
                          v.                 *       Civil Case No. PWG 12-2164
                                             *
        MRS Associates, Inc., et al.         *
                                             *
                  Defendants                 *

                                   STIPULATION OF DISMISSAL
        COME NOW Plaintiff Maria Vasquez and Defendant MRS Associates, Inc. and stipulate
to the dismissal of the above-captioned civil action with prejudice pursuant to Rule 41 of the
Federal Rules of Civil Procedure. Each party will bear her/its own costs and fees in connection
with this case.


SO STIPULATED:

/s/ Robinson S. Rowe
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/s/ Jordan Spivok
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Protas, Spivok & Collins, LLC.
4330 East West Highway, Suite 900
Bethesda, MD 20814

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 18th day of June, 2013, a copy of the foregoing
Stipulation of Dismissal was served via the Court’s electronic filing system or via USPS first-
class on all interested parties.


                                             /s/ Robinson S. Rowe
